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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
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 7    UNITED STATES OF AMERICA,                                Case No. 2:14-cr-00250-APG-PAL
 8                                            Plaintiff,                      ORDER
 9           v.                                                    (Sub’n of Counsel – Dkt. #24)
10    VANESSA SICILIANO, et al.,
11                                         Defendants.
12
13           This matter is before the court on the Substitution of Attorney (Dkt. #24) filed September
14    10, 2014. Todd M. Leventhal seeks leave to be substituted in the place of Patricia Palm as
15    counsel for Defendant Vanessa Siciliano. LR IA 10-6 provides that the signature of an attorney
16    to substitute into a case “constitutes an express acceptance of all dates then set for pretrial
17    proceedings, for trial or hearing, by the discovery plan, or in any court order.” LR IA 10-6(d)
18    also provides that the substitution of an attorney “shall not alone be reason for delay of pretrial
19    proceedings, discovery, the trial, or any hearing in this case.” In addition, any stipulation to
20    substitute shall only be by leave of court. LR IA 10-6(c). On July 29, 2014, a grand jury
21    returned an Indictment (Dkt. #1) against Siciliano and her co-Defendant Hamilton Hee.
22    Siciliano made an initial appearance, entered a not guilty plea, and Patricia Palm was appointed
23    as counsel. See Order Appointing Counsel (Dkt. #12); Minutes of Proceedings (Dkt. #14). On
24    September 8, 2014, Mr. Leventhal filed a Designation of Retained Counsel and Appearance
25    Praecipe (Dkt. #21). Trial is set for September 29, 2014.
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 1           Having reviewed and considered the matter, and good cause appearing,
 2           IT IS ORDERED:
 3           1.     The Substitution of Counsel (Dkt. #24) is APPROVED.
 4           2.     Todd M. Leventhal is substituted in the place of Patricia Palm as counsel for
 5    Defendant Vanessa Siciliano, subject to the provisions of LR IA 10-6(c) and (d).
 6           Dated this 17th day of September, 2014.
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                                                          PEGGY A. LEEN
 9                                                        UNITED STATES MAGISTRATE JUDGE
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